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                         EXHIBIT D
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  Interrogatories:	
  	
  	         No.	1:	
  	
  Plaintiff	agreed	to	narrow	the	scope	of	this	interrogatory	to	“all	steps	taken	and	efforts	made	by	7-
  Eleven	to	comply	with	the	FCRA’s	provision	15	U.S.C.	§	1681b(b)(2)(A)	or	any	FTC	Advisory	Opinions	re	
  same.”		Plaintiff	further	agreed	that	Plaintiff	would	not	take	the	position	that	7-Eleven	has	waived	its	
  attorney-client	privilege	over	communications	pertaining	to	same	if	7-Eleven’s	response	notes	it	did	
  have	communications	with	outside	counsel	on	such	matters.		Following	these	agreements,	7-Eleven	has	
  agreed	to	provide	a	supplemental	response.					
  	
  	         No.	2:			
  	
  The	parties	are	at	an	impasse	as	Plaintiff’s	counsel	contends	the	contact	information	should	be	provided	
  directly	to	his	counsel,	and	7-Eleven	believes	it	should	only	be	provided	to	a	third-party	administrator	
  for	notice	purposes.			
  	
  	         No.	3:	
  	
  The	parties	have	agreed	the	matters	raised	in	this	interrogatory	will	be	handled	as	part	of	7-Eleven’s	
  Rule	30(b)(6)	deposition.	
  	
  	         No.	4:	
  	
  Plaintiff	agreed	to	narrow	the	scope	of	this	interrogatory	to	“any	training	process	that	employees	
  receive	regarding	15	U.S.C.	§	1681b(b)(2)(A).”		Following	this	agreement,	7-Eleven	has	agreed	to	provide	
  a	supplemental	response.			
  	
  	         No.	5:	
  	
  Plaintiff	agreed	to	7-Eleven’s	proposal	in	its	12-19-18	MC	letter	for	7-Eleven	to	provide	a	supplemental	
  response	to	this	interrogatory	that	notes	the	date	Plaintiff	received	the	Form	at	issue,	and	whether	it	
  was	provided	in	person,	online,	or	by	mail.			
  	
  	         No.	6:	
  	
  No	dispute.			
  	
  	
  	
  	
  	
  	
  /	/	/	
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  Requests	for	Production:	
  	
  	        No.	1:			
  	
  	        Plaintiff	agreed	that	so	long	as	7-Eleven’s	supplemental	response	notes	that	Plaintiff’s	newhire	
  paperwork	is	standard	to	that	provided	to	other	class	members,	7-Eleven	can	meet	its	obligations	under	
  this	request	by	producing	Plaintiff’s	newhire	paperwork.			
  	
  	        Nos.	2	and	4:			
  	
  	        Plaintiff	agreed	to	limit	the	scope	of	these	requests	to	15	U.S.C.	§	1681b(b)(2)(A).		Plaintiff	
  further	clarified	that	the	instruction	made	in	the	requests	throughout	of	“sufficient	to	identify”	was	used	
  to	narrow	the	scope	of	these	requests.		With	this	agreement,	7-Eleven	has	agreed	to	provide	
  supplemental	responses.			          	
  	
  	        No.	3:	
  	
  	        Plaintiff	agreed	that	nothing	further	needs	to	be	provided	on	this	request.			
  	
  	        Nos.	5	and	11:		
  	
  	        These	pertain	to	contact	information,	and,	as	such,	the	dispute	is	duplicative	to	that	for	SROG	2.			
  	
  	        No.	6:	
  	
  	        Plaintiff	was	seeking	clarification	on	the	total	number,	which	has	been	provided.			
  	
  	        No.	7:	
  	
  	        Plaintiff	agreed	that	the	scope	of	this	request	would	be	narrowed	to	communications	regarding	
  Plaintiff’s	hiring,	firing,	and/or	background	check.			
  	        	
  	        No.	9:	
  	
  	        Nothing	further	need	be	provided.			
  	
  	        No.	10:	
  	
  	        Parties	are	at	an	impasse	as	Plaintiff	contends	the	size	of	7-Eleven’s	legal	department	is	relevant	
  to	willfulness,	and	7-Eleven	disagrees.			
  	
  	
  /	/	/	
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  	         No.	13:	
  	
  	         Plaintiff	agreed	that	because	of	the	separateness	7-Eleven	maintains	with	its	franchisees,	they	
  are	beyond	the	scope	of	this	lawsuit.		As	such,	nothing	further	needs	to	be	provided	on	this	request.			
  	
  	         No.	14:	
  	         	
  	         Nothing	further	need	be	provided	here.			
  	
  	         No.	15:	
  	
  	         Plaintiff	agreed	to	narrow	the	scope	of	this	request	to	communications	with	Sterling	related	to	
  the	Form.		Subject	to	that	agreement,	7-Eleven	will	provide	a	supplemental	response.			
  	
  	         Nos.	16-18:	
  	
  	         Nothing	further	need	be	provided.			
  	
  Requests	for	Admission:	
  	
  	         Nothing	further	need	be	provided.			
  	
  Rule	30(b)(6)	Deposition:	
  	
  	         Topic	4:			
  	
  Agreed	scope	will	be	limited	to	15	U.S.C.	§	1681b(b)(2)(A).			
  	
  	         Topic	6:	
  	
  This	topic	pertains	to	size	of	7-Eleven’s	legal	department/budget/etc.,	and	again	the	parties	are	at	an	
  impasse.			
  	
  	         Topics	11,	14,	15:	
  	
  Plaintiff	clarified	these	topics	will	pertain	to	the	paperwork	a	person	would	have	received	along	with	the	
  Form.			
  	
  	         Topic	13:	
  	
  Plaintiff	agreed	to	withdraw	this	topic,	which	pertained	to	franchises.			
